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                     Exhibit 18
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         Saudi Committee in Support of the Intifada al Quds
               Coordination with HAMAS Da’wa Institutions
                      in the Palestinian Territories



                                              There are two societies, which are among the largest
                                              societies in Palestine. They have a long experience,
                                              and have earned the trust of many. These societies
                                              have administrative capabilities, and staff, and so they
                                              have been appointed to monitor the operations during
                                              the giving of relief. They are doing so through a
                                              coordinative committee made up of more than 33
                                              societies, who currently carry out the [Saudi]
                                              Committee’s activities, in accordance with strict
                                              regulations and agreed upon mechanisms. The two
                                              societies are:

                                                The Islamic Charitable Society in the West
                                                                  Bank

                                                 The Al-Salah Islamic Association in Gaza
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         December 30, 2000 Letter from the Palestinian Ambassador to Saudi Arabia to Prince Salman:
                 The Palestinian Authority’s Concerns About the
                Saudi Committee in Support of the Intifada al Quds
                                Funding HAMAS




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